Case 4:23-cv-00718-KGB Document 2-8 Filed 07/31/23 Page 1 of 3

Abtin Mehdizadegan

From: Abtin Mehdizadegan

Sent: Monday, July 31, 2023 5:25 PM

To: ‘nicholas.bronni@arkansasag.gov'

Cc: Allison Scott; Joseph Stepina; Justin Swanson; Paul Vink

Subject: FW: Activity in Case 4:23-cv-00718-BRW Bio Gen LLC et al v. Arkansas, State of et al
Complaint

Attachments: 2023.07.31 Complaint for Declaratory and Injunctive Relief.pdf; Ex 3 - Sky Marketing

Order.pdf; Ex 5 - Declaration of William Morgan.pdf; Ex 4 - Declaration of Cynthia
Cabrera.pdf; Ex 1 - Arkansas Tobacco Control Advisory.pdf, Ex 7 - Declaration of Mary
Szarmach.pdf; Ex 6 - Declaration of Scout Stubbs.pdf; Plaintiffs’ Motion for Temporary
Restraining Order(102760457.1).pdf; Ex 2 - Kentucky Hemp Order.pdf; Plaintiffs’ Brief in
Support of Motion for TRO or Alternative Preliminary Injunction(102762044.1).pdf

Solicitor General Bronni,

| hope you are well. | represent the Plaintiffs (Bio Gen, LLC, Drippers Vape Shop, LLC, The Cigarette Store LLC, and Sky
Marketing Corporation) in the below-referenced action in which we have challenged Act 629. We filed the attached
Complaint earlier today and | intend to file a Motion for Temporary Restraining Order in a few moments. We intend to
ask Judge Wilson to issue a temporary restraining order until a hearing can be set. Our process servers intend to begin
their work tomorrow. And for full disclosure, to satisfy my obligations under Rule 65, | intend to file this email as an
exhibit to the Motion.

| look forward to an expeditious resolution of this matter and would welcome a time to visit with you.
Best,

Abtin

From: ecf_support@ared.uscourts.gov <ecf_support@ared.uscourts.gov>

Sent: Monday, July 31, 2023 4:54 PM

To: ared_ecf@ared.uscourts.gov

Subject: Activity in Case 4:23-cv-00718-BRW Bio Gen LLC et al v. Arkansas, State of et al Complaint

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U.S. District Court

Eastern District of Arkansas

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The following transaction was entered on 7/31/2023 at 4:53 PM CDT and filed on 7/31/2023

Case Name: Bio Gen LLC et al v. Arkansas, State of et al
Case Number: 4:23-cv-00718-BRW
Filer: Drippers Vape Shop LLC

Bio Gen LLC

Sky Marketing Corporation
Cigarette Store LLC
Document Number: 1

Docket Text: .

COMPIAINT FOR DECLARATORY AND INJUNCTIVE RELIEF against All Defendants, filed by
Drippers Vape Shop LLC, Bio Gen LLC, Sky Marketing Corporation, and Cigarette Store LLC.
No summons issued. (Fee of $402 paid. Receipt Number LIT3034.) (Attachments: # (1) Civil
Cover Sheet) (jbh)

4:23-cv-00718-BRW Notice has been electronically mailed to:

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4:23-cv-00718-BRW Notice has been delivered by other means to:

Justin Swanson

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The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_ID=1095794525 [Date=7/31/2023] [FileNumber=9432303-0

] [1f7ec06e99bd705278596769128d3aa530128e6bd01f6566ea22e5655c1cbf86aad
4697617b4d0da568ade2652279a6f1f09fa9da7424b9ea2c2a1fd0ebd41ed]]
Document description:Civil Cover Sheet
Case 4:23-cv-00718-KGB Document 2-8 Filed 07/31/23 Page 3 of 3

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_ID=1095794525 [Date=7/31/2023] [FileNumber=9432303-1
] [a9ba1a2f45dafSe7e74b68ef7227f2e66dc1c8c068129c6f6017582c63890b3 ladf
37f8422b905028e2a82c0449e343e02295e3597e2d379d6 Lfefa43f0c46fel]
